                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               SOUTHERN DIVISION
                                Case No. 7:23-cv-897

IN RE:                                     )
                                           )
CAMP LEJEUNE WATER LITIGATION              )        NOTICE IN RESPONSE TO THE
                                           )       MAGISTRATE JUDGE’S ORDER OF
This Document Relates To:                  )             SEPTEMBER 3, 2024
ALL CASES                                  )
                                           )



         On September 3, 2024, Magistrate Judge Gates issued an order regarding possible

amendments to Case Management Order No. 14 [D.E. 281]. Since the issuance of the Magistrate

Judge’s Order, the United States has conferred with the Settlement Masters and has reached

agreement with the Settlement Masters regarding procedures that would allow counsel for the

United States to engage with the Settlement Masters and protect government information within

the terms of Case Management Order No. 14. Given the agreement, the United States does not

believe that amendments to Case Management Order No. 14 are necessary.


Dated: September 17, 2024                 Sincerely,

                                          BRIAN M. BOYNTON
                                          Principal Deputy Assistant Attorney General
                                          Civil Division

                                          J. PATRICK GLYNN
                                          Director, Torts Branch

                                          BRIDGET BAILEY LIPSCOMB
                                          Assistant Director


                                          _s/ Adam Bain ________
                                          ADAM BAIN
                                          IN Bar No. 11134-49

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                               CERTIFICATE OF SERVICE


       I hereby certify that on September 17, 2024, the foregoing was served on counsel of record

via electronic mail.

                                            _/s/ Adam Bain      _______
                                            ADAM BAIN
                                            Special Litigation Counsel, Torts Branch
                                            Environmental Torts Litigation Section
                                            U.S. Department of Justice




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